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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                            CHARLESTON DIVISION

In re: Ethicon, Inc.                                              MDL: 2327
Pelvic Repair System
Products Liability Litigation



                                           ORDER

       Pending is attorney Gretchen Carpenter’s Motion to Withdraw as Counsel, filed May 27,

2014. Ms. Carpenter seeks an order granting her leave to withdraw from member actions 2:12-

cv-00751, 2:12-cv-09506, 2:12-cv-07669 and 2:12-cv-01675 and MDL 2327. It is ORDERED

that Ms. Carpenter’s Motion is GRANTED.

       The Clerk is instructed to terminate Ms. Carpenter where she appears as counsel for any

party in this MDL and in member cases 2:12-cv-00751, 2:12-cv-09506, 2:12-cv-07669 and 2:12-

cv-01675.

       The court DIRECTS the Clerk to file a copy of this order in 2:12-md-2327 and in

member cases 2:12-cv-00751, 2:12-cv-09506, 2:12-cv-07669 and 2:12-cv-01675, which Ms.

Carpenter has appeared.

                                            ENTER: ___________________________

                                            __________________________________
                                            HON. JOSEPH R. GOODWIN
                                            UNITED STATES DISTRICT JUDGE



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